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        RILEY SAFER HOLMES & CANCILA LLP
   1    MEGHAN R. MCMEEL (CSB #284841)
        mmcmeel@rshc-law.com
   2    200 Spectrum Center Drive, 3rd Floor
        Irvine, CA 92618
   3    Telephone: (415) 275-8550
        Facsimile: (415) 275-8551
   4
        Attorneys for Defendant
   5    OWENS-ILLINOIS, INC.
   6

   7
                                 UNITED STATES DISTRICT COURT
   8
                               CENTRAL DISTRICT OF CALIFORNIA
   9
                                         LOS ANGELES DIVISION
  10

  11                                                     Case No. 2:18-cv-01575-FMO-E
        TERRY LEE SIEGFRIED and
  12    TERRI SIEGFRIED,                                 (Los Angeles County Superior Court,
                           Plaintiffs,                   Case No. BC691900)
  13
               v.                                        ANSWER TO COMPLAINT FOR
  14                                                     PERSONAL INJURY – ASBESTOS:
        3M COMPANY, et al.,                              DEMAND FOR JURY TRIAL
  15
                           Defendants.                   Judge: Hon. Fernando M. Olguin
  16                                                     Courtroom: 6D, 6th Floor
  17                                                     Complaint Filed: January 26, 2018
                                                         Removed: February 26, 2018
  18                                                     Trial: None
  19

  20          Defendant OWENS-ILLINOIS, INC. ("O-I"), submits the following Answer
  21   to the Complaint of Plaintiff Terry Lee Siegfried ("Plaintiff') and Terri Siegfried
  22   (collectively, the "Plaintiffs") on its own behalf and on behalf of no other
  23   defendant, as follows:
  24                                  GENERAL ALLEGATIONS
  25          1.      To the extent that paragraph 1 of the Complaint consists of allegations
  26   of fact as to Plaintiffs (individually and/or collectively), O-I lacks sufficient
  27   knowledge or information to form a belief as to the truth of the allegations, and on
  28   that basis, denies the allegations. To the extent that paragraph 1 of the Complaint

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   1   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
   2   sufficient knowledge or information to form a belief as to the truth of the
   3   allegations, and on that basis, denies the allegations. To the extent that paragraph 1
   4   of the Complaint consists of allegations of fact as to O-I, O-I denies the allegations.
   5   To the extent that paragraph I of the Complaint consists of conclusions of law, O-I
   6   is not required to respond.
   7          2.      To the extent that paragraph 2 of the Complaint consists of allegations
   8   of fact as to Plaintiffs (individually and/or collectively), O-I lacks sufficient
   9   knowledge or information to form a belief as to the truth of the allegations, and on
  10   that basis, denies the allegations. To the extent that paragraph 2 of the Complaint
  11   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
  12   sufficient knowledge or information to form a belief as to the truth of the
  13   allegations, and on that basis, denies the allegations. To the extent that paragraph 2
  14   of the Complaint consists of conclusions of law, O-I is not required to respond.
  15   Answering paragraph 2, O-I admits that it is a corporation and authorized to
  16   conduct business in the State of California. As to the remaining allegations of fact
  17   in paragraph 2 of the Complaint, to the extent they are asserted against O-I, O-I
  18   denies the allegations.
  19          3.      To the extent that paragraph 3 of the Complaint consists of allegations
  20   of fact as to Plaintiff, O-I lacks sufficient knowledge or information to form a belief
  21   as to the truth of the allegations, and on that basis, denies the allegations. To the
  22   extent that paragraph 3 of the Complaint consists of conclusions of law, O-I is not
  23   required to respond. As to the remaining allegations of fact in paragraph 3 of the
  24   Complaint, to the extent they are asserted against O-I, O-I denies the allegations.
  25          4.      To the extent that paragraph 4 of the Complaint consists of allegations
  26   of fact as to Plaintiffs (individually and/or collectively), O-I lacks sufficient
  27   knowledge or information to form a belief as to the truth of the allegations, and on
  28   that basis, denies the allegations. To the extent that paragraph 4 of the Complaint
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   1   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
   2   sufficient knowledge or information to form a belief as to the truth of the
   3   allegations, and on that basis, denies the allegations. To the extent that paragraph 4
   4   of the Complaint consists of allegations of fact as to O-I, O-I denies the allegations.
   5   In particular, O-I denies that Plaintiff was exposed to asbestos from an O-I product,
   6   or as a result of any conduct for which O-I is responsible, or that O-I, is in any way
   7   liable for any damage or injury allegedly sustained by Plaintiffs. To the extent that
   8   paragraph 4 of the Complaint consists of conclusions of law, O-I is not required to
   9   respond.
  10          5.      To the extent that paragraph 5 of the Complaint consists of allegations
  11   of fact as to Plaintiffs (individually and/or collectively), O-I lacks sufficient
  12   knowledge or information to form a belief as to the truth of the allegations, and on
  13   that basis, denies the allegations. To the extent that paragraph 5 of the Complaint
  14   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
  15   sufficient knowledge or information to form a belief as to the truth of the
  16   allegations, and on that basis, denies the allegations. As to the remaining
  17   allegations of fact in paragraph 5 of the Complaint, to the extent they are asserted
  18   against O-I, O-I denies the allegations.
  19                                  FIRST CAUSE OF ACTION
  20                                             (Negligence)
  21          6.      Answering paragraph 6 of the Complaint, O-I incorporates herein by
  22   reference, as though fully set forth herein, paragraphs 1 through 5 of this Answer.
  23          7.      To the extent that paragraph 7 of the Complaint consists of allegations
  24   of fact as to other defendants (known or unknown), O-I lacks sufficient knowledge
  25   or information to form a belief as to the truth of the allegations, and on that basis,
  26   denies the allegations. To the extent that paragraph 7 of the Complaint consists of
  27   allegations of fact as to O-I, O-I denies the allegations. Moreover, the term
  28   "alternate entities" does not correlate to a legally defined corporate relationship and
                                                       -3-
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   1   Plaintiffs' use of these terms is vague, confusing, and misleading. To the extent that
   2   paragraph 7 of the Complaint consists of conclusions of law, O-I is not required to
   3   respond.
   4          8.      To the extent that paragraph 8 of the Complaint consists of allegations
   5   of fact as to other defendants (known or unknown), O-I lacks sufficient knowledge
   6   or information to form a belief as to the truth of the allegations, and on that basis,
   7   denies the allegations. To the extent that paragraph 8 of the Complaint consists of
   8   allegations of fact as to O-I, O-I denies the allegations. Moreover, the term
   9   "alternate entities" does not correlate to a legally defined corporate relationship and
  10   Plaintiffs' use of these terms is vague, confusing, and misleading.
  11          9.      To the extent that paragraph 9 of the Complaint consists of allegations
  12   of fact as to Plaintiff and/or other unknown persons (including other alleged
  13   "exposed persons"), O-I lacks sufficient knowledge or information to form a belief
  14   as to the truth of the allegations, and on that basis, denies the allegations. To the
  15   extent that paragraph 9 of the Complaint consists of allegations of fact as to other
  16   defendants (known or unknown), O-I lacks sufficient knowledge or information to
  17   form a belief as to the truth of the allegations, and on that basis, denies the
  18   allegations. To the extent that paragraph 9 of the Complaint consists of allegations
  19   of fact as to O-I, O-I denies the allegations. In particular, O-I denies that Plaintiff
  20   was exposed to asbestos from an O-I product, or as a result of any conduct for
  21   which O-I is responsible, or that O-I is in any way liable for any damage or injury
  22   allegedly sustained by Plaintiffs. Moreover, the term "alternate entities" does not
  23   correlate to a legally defined corporate relationship and Plaintiffs' use of these terms
  24   is vague, confusing, and misleading. To the extent that paragraph 9 of the
  25   Complaint consists of conclusions of law, O-I is not required to respond.
  26          10.     To the extent that paragraph 10 of the Complaint consists of
  27   allegations of fact as to Plaintiff and/or other unknown persons (including other
  28   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
                                                       -4-
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   1   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   2   To the extent that paragraph 10 of the Complaint consists of allegations of fact as to
   3   other defendants (known or unknown), O-I lacks sufficient knowledge or
   4   information to form a belief as to the truth of the allegations, and on that basis,
   5   denies the allegations. To the extent that paragraph 10 of the Complaint consists of
   6   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   7   that Plaintiff was exposed to asbestos from an O-I product, or as a result of any
   8   conduct for which O-I is responsible, or that O-I is in any way liable for any
   9   damage or injury allegedly sustained by Plaintiffs. Moreover, the term "alternate
  10   entities" does not correlate to a legally defined corporate relationship and Plaintiffs'
  11   use of these terms is vague, confusing, and misleading. To the extent that
  12   paragraph 10 of the Complaint consists of conclusions of law, O-I is not required to
  13   respond.
  14          11.     To the extent that paragraph 11 of the Complaint consists of
  15   allegations of fact as to Plaintiff and/or other unknown persons (including other
  16   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
  17   a belief as to the truth of the allegations, and on that basis, denies the allegations.
  18   To the extent that paragraph 11 of the Complaint consists of allegations of fact as to
  19   other defendants (known or unknown), O-I lacks sufficient knowledge or
  20   information to form a belief as to the truth of the allegations, and on that basis,
  21   denies the allegations. To the extent that paragraph 11 of the Complaint consists of
  22   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
  23   that Plaintiff was exposed to asbestos from an O-I product, or as a result of any
  24   conduct for which O-I is responsible, or that O-I is in any way liable for any
  25   damage or injury allegedly sustained by Plaintiffs. Moreover, the term "alternate
  26   entities" does not correlate to a legally defined corporate relationship and Plaintiffs'
  27   use of these terms is vague, confusing, and misleading. To the extent that
  28   paragraph 11 of the Complaint consists of conclusions of law, O-I is not required to
                                                       -5-
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   1   respond.
   2          12.     To the extent that paragraph 12 of the Complaint consists of
   3   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   4   knowledge or information to form a belief as to the truth of the allegations, and on
   5   that basis, denies the allegations. To the extent that paragraph 12 of the Complaint
   6   consists of allegations of fact as to O-I, O-I denies the allegations. Moreover, the
   7   term "alternate entities" does not correlate to a legally defined corporate
   8   relationship and Plaintiffs' use of these terms is vague, confusing, and misleading.
   9   To the extent that paragraph 12 of the Complaint consists of conclusions of law, O-
  10   I is not required to respond.
  11          13.     To the extent that paragraph 13 of the Complaint consists of
  12   allegations of fact as to Plaintiff and/or other unknown persons (including other
  13   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
  14   a belief as to the truth of the allegations, and on that basis, denies the allegations.
  15   To the extent that paragraph 13 of the Complaint consists of allegations of fact as to
  16   other defendants (known or unknown), O-I lacks sufficient knowledge or
  17   information to form a belief as to the truth of the allegations, and on that basis,
  18   denies the allegations. To the extent that paragraph 13 of the Complaint consists of
  19   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
  20   that Plaintiff was exposed to asbestos from an O-I product or as a result of any
  21   conduct for which O-I is responsible, or that O-I is in any way liable for any
  22   damage or injury allegedly sustained by Plaintiffs. Moreover, the term "alternate
  23   entities" does not correlate to a legally defined corporate relationship and Plaintiffs'
  24   use of these terms is vague, confusing, and misleading. To the extent that
  25   paragraph 13 of the Complaint consists of conclusions of law, O-I is not required to
  26   respond.
  27          14.     To the extent that paragraph 14 of the Complaint consists of
  28   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
                                                       -6-
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   1   form a belief as to the truth of the allegations, and on that basis, denies the
   2   allegations. To the extent that paragraph 14 of the Complaint consists of
   3   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   4   knowledge or information to form a belief as to the truth of the allegations, and on
   5   that basis, denies the allegations. To the extent that paragraph 14 of the Complaint
   6   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
   7   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
   8   any conduct for which O-I is responsible, or that O-I is in any way liable for any
   9   damage or injury allegedly sustained by Plaintiffs. To the extent that paragraph 14
  10   of the Complaint consists of conclusions of law, O-I is not required to respond.
  11          15.     To the extent that paragraph 15 of the Complaint consists of
  12   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
  13   form a belief as to the truth of the allegations, and on that basis, denies the
  14   allegations. To the extent that paragraph 15 of the Complaint consists of
  15   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
  16   knowledge or information to form a belief as to the truth of the allegations, and on
  17   that basis, denies the allegations. To the extent that paragraph 15 of the Complaint
  18   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
  19   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
  20   any conduct for which O-I is responsible, or that O-I is in any way liable for any
  21   damage or injury allegedly sustained by Plaintiffs. Moreover, the term "alternate
  22   entities" does not correlate to a legally defined corporate relationship and Plaintiffs'
  23   use of these terms is vague, confusing, and misleading. To the extent that
  24   paragraph 15 of the Complaint consists of conclusions of law, O-I is not required to
  25   respond.
  26          16.     To the extent that paragraph 16 of the Complaint consists of
  27   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
  28   form a belief as to the truth of the allegations, and on that basis, denies the
                                                       -7-
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   1   allegations. To the extent that paragraph 16 of the Complaint consists of
   2   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   3   knowledge or information to form a belief as to the truth of the allegations, and on
   4   that basis, denies the allegations. To the extent that paragraph 16 of the Complaint
   5   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
   6   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
   7   any conduct for which O-I is responsible, or that O-I is in any way liable for any
   8   damage or injury allegedly sustained by Plaintiffs. Moreover, the term “alternate
   9   entities” does not correlate to a legally defined corporate relationship and Plaintiffs’
  10   use of these terms is vague, confusing, and misleading. To the extent that
  11   paragraph 16 of the Complaint consists of conclusions of law, O-I is not required to
  12   respond.
  13          17.     To the extent that paragraph 17 of the Complaint consists of
  14   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
  15   form a belief as to the truth of the allegations, and on that basis, denies the
  16   allegations. To the extent that paragraph 17 of the Complaint consists of
  17   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
  18   knowledge or information to form a belief as to the truth of the allegations, and on
  19   that basis, denies the allegations. To the extent that paragraph 17 of the Complaint
  20   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
  21   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
  22   any conduct for which O-I is responsible, or that O-I is in any way liable for any
  23   damage or injury allegedly sustained by Plaintiffs. Moreover, the term “alternate
  24   entities” does not correlate to a legally defined corporate relationship and Plaintiffs’
  25   use of these terms is vague, confusing, and misleading. To the extent that
  26   paragraph 17 of the Complaint consists of conclusions of law, O-I is not required to
  27   respond.
  28          18.     To the extent that paragraph 18 of the Complaint consists of
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   1   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
   2   form a belief as to the truth of the allegations, and on that basis, denies the
   3   allegations, To the extent that paragraph 18 of the Complaint consists of allegations
   4   of fact as to other defendants (known or unknown), O-I lacks sufficient knowledge
   5   or information to form a belief as to the truth of the allegations, and on that basis,
   6   denies the allegations. To the extent that paragraph 18 of the Complaint consists of
   7   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   8   that Plaintiff was exposed to asbestos from an O-I product, or as a result of any
   9   conduct for which O-I is responsible, or that O-I is in any way liable for any
  10   damage or injury allegedly sustained by Plaintiffs. Moreover, the term “alternate
  11   entities” does not correlate to a legally defined corporate relationship and Plaintiffs’
  12   use of these terms is vague, confusing, and misleading.
  13          19.     To the extent that paragraph 19 of the Complaint consists of
  14   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
  15   form a belief as to the truth of the allegations, and on that basis, denies the
  16   allegations. To the extent that paragraph 19 of the Complaint consists of
  17   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
  18   knowledge or information to form a belief as to the truth of the allegations, and on
  19   that basis, denies the allegations. To the extent that paragraph 19 of the Complaint
  20   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
  21   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
  22   any conduct for which O-I is responsible, or that O-I is in any way liable for any
  23   damage or injury allegedly sustained by Plaintiffs. Moreover, the term “alternate
  24   entities” does not correlate to a legally defined corporate relationship and Plaintiffs’
  25   use of these terms is vague, confusing, and misleading. To the extent that
  26   paragraph 19 of the Complaint consists of conclusions of law, O-I is not required to
  27   respond.
  28          20.     To the extent that paragraph 20 of the Complaint (including each of its
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    1   subparts) consists of allegations of fact as to Plaintiff, O-I lacks sufficient
    2   knowledge or information to form a belief as to the truth of the allegations, and on
    3   that basis, denies the allegations. To the extent that paragraph 20 of the Complaint
    4   (including each of its subparts) consists of allegations of fact as to other defendants
    5   (known or unknown), O-I lacks sufficient knowledge or information to form a
    6   belief as to the truth of the allegations, and on that basis, denies the allegations. To
    7   the extent that paragraph 20 of the Complaint (including each of its subparts)
    8   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
    9   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
   10   any conduct for which O-I is responsible, or that O-I is in any way liable for any
   11   damage or injury allegedly sustained by Plaintiffs. Moreover, the term “alternate
   12   entities” does not correlate to a legally defined corporate relationship and Plaintiffs’
   13   use of these terms is vague, confusing, and misleading. To the extent that
   14   paragraph 20 of the Complaint (including each of its subparts) consists of
   15   conclusions of law, O-I is not required to respond.
   16          21.     To the extent that paragraph 21 of the Complaint consists of
   17   allegations of fact as to Plaintiff and/or other unknown persons (including other
   18   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
   19   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   20   To the extent that paragraph 21 of the Complaint consists of allegations of fact as to
   21   other defendants (known or unknown), O-I lacks sufficient knowledge or
   22   information to form a belief as to the truth of the allegations, and on that basis,
   23   denies the allegations. To the extent that paragraph 21 of the Complaint consists of
   24   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   25   that Plaintiff was exposed to asbestos from an O-I product, or as a result of any
   26   conduct for which O-I is responsible, or that O-I is in any way liable for any
   27   damage or injury allegedly sustained by Plaintiffs. Further, O-I specifically denies
   28   that it caused or contributed to any injury or damage allegedly sustained by
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    1   Plaintiffs or that there is any basis for any award of punitive or exemplary damages
    2   against O-I. Moreover, the term “alternate entities” does not correlate to a legally
    3   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
    4   and misleading. To the extent that paragraph 21 of the Complaint consists of
    5   conclusions of law, O-I is not required to respond.
    6          22.     To the extent that paragraph 22 of the Complaint consists of
    7   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
    8   form a belief as to the truth of the allegations, and on that basis, denies the
    9   allegations. To the extent that paragraph 22 of the Complaint consists of
   10   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   11   knowledge or information to form a belief as to the truth of the allegations, and on
   12   that basis, denies the allegations. To the extent that paragraph 22 of the Complaint
   13   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
   14   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
   15   any conduct for which O-I is responsible, or that O-I is in any way liable for any
   16   damage or injury allegedly sustained by Plaintiffs. Further, O-I specifically denies
   17   that it caused or contributed to any injury or damage allegedly sustained by
   18   Plaintiffs or that there is any basis for any award of punitive or exemplary damages
   19   against O-I. Moreover, the term “alternate entities” does not correlate to a legally
   20   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
   21   and misleading. To the extent that paragraph 22 of the Complaint consists of
   22   conclusions of law, O-I is not required to respond.
   23          23.     To the extent that paragraph 23 of the Complaint consists of
   24   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
   25   form a belief as to the truth of the allegations, and on that basis, denies the
   26   allegations. To the extent that paragraph 23 of the Complaint consists of
   27   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   28   knowledge or information to form a belief as to the truth of the allegations, and on
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    1   that basis, denies the allegations. To the extent that paragraph 23 of the Complaint
    2   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
    3   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
    4   any conduct for which O-I is responsible, or that O-I is in any way liable for any
    5   damage or injury allegedly sustained by Plaintiffs. Further, O-I specifically denies
    6   that it caused or contributed to any injury or damage allegedly sustained by
    7   Plaintiffs or that there is any basis for any award of punitive or exemplary damages
    8   against O-I. Moreover, the term “alternate entities” does not correlate to a legally
    9   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
   10   and misleading. To the extent that paragraph 23 of the Complaint consists of
   11   conclusions of law, O-I is not required to respond.
   12          24.     To the extent that paragraph 24 of the Complaint consists of
   13   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
   14   form a belief as to the truth of the allegations, and on that basis, denies the
   15   allegations. To the extent that paragraph 24 of the Complaint consists of
   16   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   17   knowledge or information to form a belief as to the truth of the allegations, and on
   18   that basis, denies the allegations. To the extent that paragraph 24 of the Complaint
   19   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
   20   I denies that Plaintiff was exposed to asbestos from an O-I product, or as a result of
   21   any conduct for which O-I is responsible, or that O-I is in any way liable for any
   22   damage or injury allegedly sustained by Plaintiffs. Further, O-I specifically denies
   23   that it caused or contributed to any injury or damage allegedly sustained by
   24   Plaintiffs or that there is any basis for any award of punitive or exemplary damages
   25   against O-I. Moreover, the term “alternate entities” does not correlate to a legally
   26   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
   27   and misleading. To the extent that paragraph 24 of the Complaint consists of
   28   conclusions of law, O-I is not required to respond.
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    1                                SECOND CAUSE OF ACTION
    2                                          (Strict Liability)
    3          25.     Answering paragraph 25 of the Complaint, O-I incorporates herein by
    4   reference, as though fully set forth herein, paragraphs l through 24 of this Answer.
    5          26.     To the extent that paragraph 26 of the Complaint consists of
    6   allegations of fact as to Plaintiff and/or other unknown persons, O-I lacks sufficient
    7   knowledge or information to form a belief as to the truth of the allegations, and on
    8   that basis, denies the allegations. To the extent that paragraph 26 of the Complaint
    9   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
   10   sufficient knowledge or information to form a belief as to the truth of the
   11   allegations, and on that basis, denies the allegations. To the extent that paragraph
   12   26 of the Complaint consists of allegations of fact as to O-I, O-I denies the
   13   allegations. Moreover, the term “alternate entities” does not correlate to a legally
   14   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
   15   and misleading. To the extent that paragraph 26 of the Complaint consists of
   16   conclusions of law, O-I is not required to respond.
   17          27.     To the extent that paragraph 27 of the Complaint consists of
   18   allegations of fact as to Plaintiff and/or other unknown persons (including other
   19   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
   20   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   21   To the extent that paragraph 27 of the Complaint consists of allegations of fact as to
   22   other defendants (known or unknown), O-I lacks sufficient knowledge or
   23   information to form a belief as to the truth of the allegations, and on that basis,
   24   denies the allegations. To the extent that paragraph 27 of the Complaint consists of
   25   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   26   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
   27   liable for any damage or injury allegedly sustained by Plaintiffs. Moreover, the
   28   term “alternate entities” does not correlate to a legally defined corporate
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    1   relationship and Plaintiffs’ use of these terms is vague, confusing, and misleading.
    2   To the extent that paragraph 27 of the Complaint consists of conclusions of law, O-
    3   I is not required to respond.
    4          28.     To the extent that paragraph 28 of the Complaint consists of
    5   allegations of fact as to Plaintiff and/or other unknown persons (including other
    6   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
    7   a belief as to the truth of the allegations, and on that basis, denies the allegations.
    8   To the extent that paragraph 28 of the Complaint consists of allegations of fact as to
    9   other defendants (known or unknown), O-I lacks sufficient knowledge or
   10   information to form a belief as to the truth of the allegations, and on that basis,
   11   denies the allegations. To the extent that paragraph 28 of the Complaint consists of
   12   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   13   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
   14   liable for any damage or injury allegedly sustained by Plaintiffs. Moreover, the
   15   term “alternate entities” does not correlate to a legally defined corporate
   16   relationship and Plaintiffs’ use of these terms is vague, confusing, and misleading.
   17   To the extent that paragraph 28 of the Complaint consists of conclusions of law, O-
   18   I is not required to respond.
   19          29.     To the extent that paragraph 29 of the Complaint consists of
   20   allegations of fact as to Plaintiff, O-I lacks sufficient knowledge or information to
   21   form a belief as to the truth of the allegations, and on that basis, denies the
   22   allegations. To the extent that paragraph 29 of the Complaint consists of
   23   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   24   knowledge or information to form a belief as to the truth of the allegations, and on
   25   that basis, denies the allegations. To the extent that paragraph 29 of the Complaint
   26   consists of allegations of fact as to O-I, O-I denies the allegations. To the extent
   27   that paragraph 29 of the Complaint consists of conclusions of law, O-I is not
   28   required to respond.
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    1          30.     To the extent that paragraph 30 of the Complaint (including each of its
    2   subparts) consists of allegations of fact as to Plaintiff and/or other unknown persons
    3   (including other alleged "exposed persons"), O-I lacks sufficient knowledge or
    4   information to form a belief as to the truth of the allegations, and on that basis,
    5   denies the allegations. To the extent that paragraph 30 of the Complaint (including
    6   each of its subparts) consists of allegations of fact as to other defendants (known or
    7   unknown), O-I lacks sufficient knowledge or information to form a belief as to the
    8   truth of the allegations, and on that basis, denies the allegations. To the extent that
    9   paragraph 30 of the Complaint (including each of its subparts) consists of
   10   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   11   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
   12   liable for any damage or injury allegedly sustained by Plaintiffs. Moreover, the
   13   term “alternate entities” does not correlate to a legally defined corporate
   14   relationship and Plaintiffs’ use of these terms is vague, confusing, and misleading.
   15   To the extent that paragraph 30 of the Complaint (including each of its subparts)
   16   consists of conclusions of law, O-I is not required to respond.
   17          31.     To the extent that paragraph 31 of the Complaint consists of
   18   allegations of fact as to Plaintiff and/or other unknown persons (including other
   19   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
   20   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   21   To the extent that paragraph 31 of the Complaint consists of allegations of fact as to
   22   other defendants (known or unknown), O-I lacks sufficient knowledge or
   23   information to form a belief as to the truth of the allegations, and on that basis,
   24   denies the allegations. To the extent that paragraph 31 of the Complaint consists of
   25   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   26   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
   27   liable for any damage or injury allegedly sustained by Plaintiffs, Further, O-I
   28   specifically denies that it caused or contributed to any injury or damage allegedly
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    1   sustained by Plaintiffs or that there is any basis for any award of punitive or
    2   exemplary damages against O-I. Moreover, the term “alternate entities” does not
    3   correlate to a legally defined corporate relationship and Plaintiffs’ use of these
    4   terms is vague, confusing, and misleading. To the extent that paragraph 31 of the
    5   Complaint consists of conclusions of law, O-I is not required to respond.
    6          32.     To the extent that paragraph 32 of the Complaint consists of
    7   allegations of fact as to Plaintiff and/or other unknown persons (including other
    8   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
    9   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   10   To the extent that paragraph 32 of the Complaint consists of allegations of fact as to
   11   other defendants (known or unknown), O-I lacks sufficient knowledge or
   12   information to form a belief as to the truth of the allegations, and on that basis,
   13   denies the allegations. To the extent that paragraph 32 of the Complaint consists of
   14   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   15   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
   16   liable for any damage or injury allegedly sustained by Plaintiffs. Further, O-I
   17   specifically denies that it caused or contributed to any injury or damage allegedly
   18   sustained by Plaintiffs or that there is any basis for any award of punitive or
   19   exemplary damages against O-I, To the extent that paragraph 32 of the Complaint
   20   consists of conclusions of law, O-I is not required to respond.
   21          33.     To the extent that paragraph 33 of the Complaint consists of
   22   allegations of fact as to Plaintiff and/or other unknown persons (including other
   23   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
   24   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   25   To the extent that paragraph 33 of the Complaint consists of allegations of fact as to
   26   other defendants (known or unknown), O-I lacks sufficient knowledge or
   27   information to form a belief as to the truth of the allegations, and on that basis,
   28   denies the allegations. To the extent that paragraph 33 of the Complaint consists of
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    1   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
    2   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
    3   liable for any damage or injury allegedly sustained by Plaintiffs. Further, O-I
    4   specifically denies that it caused or contributed to any injury or damage allegedly
    5   sustained by Plaintiffs or that there is any basis for any award of punitive or
    6   exemplary damages against O-I. To the extent that paragraph 33 of the Complaint
    7   consists of conclusions of law, O-I is not required to respond.
    8          34.     To the extent that paragraph 34 of the Complaint consists of
    9   allegations of fact as to Plaintiff and/or other unknown persons (including other
   10   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
   11   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   12   To the extent that paragraph 34 of the Complaint consists of allegations of fact as to
   13   other defendants (known or unknown), O-I lacks sufficient knowledge or
   14   information to form a belief as to the truth of the allegations, and on that basis,
   15   denies the allegations. To the extent that paragraph 34 of the Complaint consists of
   16   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   17   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
   18   liable for any damage or injury allegedly sustained by Plaintiffs, Further, O-I
   19   specifically denies that it caused or contributed to any injury or damage allegedly
   20   sustained by Plaintiffs or that there is any basis for any award of punitive or
   21   exemplary damages against O-I. Moreover, the term "alternate entities" does not
   22   correlate to a legally defined corporate relationship and Plaintiffs' use of these terms
   23   is vague, confusing, and misleading. To the extent that paragraph 34 of the
   24   Complaint consists of conclusions of law, O-I is not required to respond.
   25                                 THIRD CAUSE OF ACTION
   26          (False Representation Under Restatement of Torts Section 402-13)
   27          35.     Answering paragraph 35 of the Complaint, O-I incorporates herein by
   28   reference, as though fully set forth herein, paragraphs 1 through 34 of this Answer.
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    1         36.     To the extent that paragraph 36 of the Complaint consists of
    2   allegations of fact as to Plaintiff and/or other unknown persons (including other
    3   alleged "exposed persons" and Plaintiff's "employers"), O-I lacks sufficient
    4   knowledge or information to form a belief as to the truth of the allegations, and on
    5   that basis, denies the allegations. To the extent that paragraph 36 of the Complaint
    6   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
    7   sufficient knowledge or information to form a belief as to the truth of the
    8   allegations, and on that basis, denies the allegations. To the extent that paragraph
    9   36 of the Complaint consists of allegations of fact as to O-I, O-I denies the
   10   allegations. Moreover, the term “alternate entities” does not correlate to a legally
   11   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
   12   and misleading. To the extent that paragraph 36 of the Complaint consists of
   13   conclusions of law, O-I is not required to respond.
   14         37.     To the extent that paragraph 37 of the Complaint consists of
   15   allegations of fact as to Plaintiff and/or other unknown persons (including other
   16   alleged "exposed persons" and Plaintiff's "employers"), O-I lacks sufficient
   17   knowledge or information to form a belief as to the truth of the allegations, and on
   18   that basis, denies the allegations. To the extent that paragraph 37 of the Complaint
   19   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
   20   sufficient knowledge or information to form a belief as to the truth of the
   21   allegations, and on that basis, denies the allegations. To the extent that paragraph
   22   37 of the Complaint consists of allegations of fact as to O-I, O-I denies the
   23   allegations. Moreover, the term “alternate entities” does not correlate to a legally
   24   defined corporate relationship and Plaintiffs’ use of these terms is vague, confusing,
   25   and misleading. To the extent that paragraph 37 of the Complaint consists of
   26   conclusions of law, O-I is not required to respond.
   27         38.     To the extent that paragraph 38 of the Complaint consists of
   28   allegations of fact as to Plaintiff and/or other unknown persons (including other
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    1   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
    2   a belief as to the truth of the allegations, and on that basis, denies the allegations.
    3   To the extent that paragraph 38 of the Complaint consists of allegations of fact as to
    4   other defendants (known or unknown), O-I lacks sufficient knowledge or
    5   information to form a belief as to the truth of the allegations, and on that basis,
    6   denies the allegations. To the extent that paragraph 38 of the Complaint consists of
    7   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
    8   that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in any way
    9   liable for any damage or injury allegedly sustained by Plaintiffs. Moreover, the
   10   term “alternate entities” does not correlate to a legally defined corporate
   11   relationship and Plaintiffs’ use of these terms is vague, confusing, and misleading.
   12   To the extent that paragraph 38 of the Complaint consists of conclusions of law, O-
   13   I is not required to respond.
   14          39.     To the extent that paragraph 39 of the Complaint consists of
   15   allegations of fact as to Plaintiffs (individually and/or collectively) and/or other
   16   unknown persons (including other alleged "exposed persons"), O-I lacks sufficient
   17   knowledge or information to form a belief as to the truth of the allegations, and on
   18   that basis, denies the allegations. To the extent that paragraph 39 of the Complaint
   19   consists of allegations of fact as to other defendants (known or unknown), O-I lacks
   20   sufficient knowledge or information to form a belief as to the truth of the
   21   allegations, and on that basis, denies the allegations. To the extent that paragraph
   22   39 of the Complaint consists of allegations of fact as to O-I, O-I denies the
   23   allegations. In particular, O-I denies that Plaintiff was exposed to asbestos from an
   24   O-I product, or that O-I is in any way liable for any damage or injury allegedly
   25   sustained by Plaintiffs. Moreover, the term “alternate entities” does not correlate to
   26   a legally defined corporate relationship and Plaintiffs’ use of these terms is vague,
   27   confusing, and misleading. To the extent that paragraph 39 of the Complaint
   28   consists of conclusions of law, O-I is not required to respond.
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    1                                FOURTH CAUSE OF ACTION
    2                       (Intentional Tort/Intentional Failure of Warn)
    3          40.     Answering paragraph 40 of the Complaint, O-I incorporates herein by
    4   reference, as though fully set forth herein, paragraphs 1 through 39 of this Answer.
    5          41.     To the extent that paragraph 41 of the Complaint consists of
    6   allegations of fact as to Plaintiffs (individually and/or collectively), O-I lacks
    7   sufficient knowledge or information to form a belief as to the truth of the
    8   allegations, and on that basis, denies the allegations. To the extent that paragraph
    9   41 of the Complaint consists of allegations of fact as to other defendants (known or
   10   unknown), O-I lacks sufficient knowledge or information to form a belief as to the
   11   truth of the allegations, and on that basis, denies the allegations. To the extent that
   12   paragraph 41 of the Complaint consists of allegations of fact as to O-I, O-I denies
   13   the allegations. Moreover, the term “alternate entities” does not correlate to a
   14   legally defined corporate relationship and Plaintiffs’ use of these terms is vague,
   15   confusing, and misleading. To the extent that paragraph 48 of the Complaint
   16   consists of conclusions of law, O-I is not required to respond.
   17          42.     To the extent that paragraph 42 of the Complaint (including each of its
   18   subparts) consists of allegations of fact as to Plaintiff and/or other unknown persons
   19   (including other alleged "exposed persons"), O-I lacks sufficient knowledge or
   20   information to form a belief as to the truth of the allegations, and on that basis,
   21   denies the allegations. To the extent that paragraph 42 of the Complaint (including
   22   each of its subparts) consists of allegations of fact as to other defendants (known or
   23   unknown), O-I lacks sufficient knowledge or information to form a belief as to the
   24   truth of the allegations, and on that basis, denies the allegations. To the extent that
   25   paragraph 42 of the Complaint (including each of its subparts) consists of
   26   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
   27   that Plaintiff was exposed to asbestos from an O-I product, that O-I deceived or
   28   intended to deceive Plaintiff, or that O-I is in any way liable for any damage or
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    1   injury allegedly sustained by Plaintiffs. Moreover, the term “alternate entities”
    2   does not correlate to a legally defined corporate relationship and Plaintiffs’ use of
    3   these terms is vague, confusing, and misleading. To the extent that paragraph 42 of
    4   the Complaint (including each of its subparts) consists of conclusions of law, O-I is
    5   not required to respond.
    6          43.     To the extent that paragraph 43 of the Complaint consists of
    7   allegations of fact as to Plaintiffs, O-I lacks sufficient knowledge or information to
    8   form a belief as to the truth of the allegations, and on that basis, denies the
    9   allegations. To the extent that paragraph 43 of the Complaint consists of
   10   allegations of fact as to other defendants (known or unknown), O-I lacks sufficient
   11   knowledge or information to form a belief as to the truth of the allegations, and on
   12   that basis, denies the allegations. To the extent that paragraph 43 of the Complaint
   13   consists of allegations of fact as to O-I, O-I denies the allegations. In particular, O-
   14   I denies that Plaintiff was exposed to asbestos from an O-I product, or that O-I is in
   15   any way liable for any damage or injury allegedly sustained by Plaintiffs.
   16   Moreover, the term “alternate entities” does not correlate to a legally defined
   17   corporate relationship and Plaintiffs’ use of these terms is vague, confusing, and
   18   misleading. To the extent that paragraph 43 of the Complaint consists of
   19   conclusions of law, O-I is not required to respond.
   20          44.     To the extent that paragraph 44 of the Complaint consists of
   21   allegations of fact as to Plaintiffs, and/or other unknown persons (including other
   22   alleged "exposed persons"), O-I lacks sufficient knowledge or information to form
   23   a belief as to the truth of the allegations, and on that basis, denies the allegations.
   24   To the extent that paragraph 44 of the Complaint consists of allegations of fact as to
   25   other defendants (known or unknown), O-I lacks sufficient knowledge or
   26   information to form a belief as to the truth of the allegations, and on that basis,
   27   denies the allegations. To the extent that paragraph 44 of the Complaint consists of
   28   allegations of fact as to O-I, O-I denies the allegations. In particular, O-I denies
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    1   that Plaintiff was exposed to asbestos from an O-I product, that O-I deceived or
    2   intended to deceive Plaintiff, or that O-I is in any way liable for any damage or
    3   injury allegedly sustained by Plaintiffs. Further, O-I specifically denies that it
    4   caused or contributed to any injury or damage allegedly sustained by Plaintiffs or
    5   that there is any basis for any award of punitive or exemplary damages against O-I.
    6   Moreover, the term “alternate entities” does not correlate to a legally defined
    7   corporate relationship and Plaintiffs’ use of these terms is vague, confusing, and
    8   misleading. To the extent that paragraph 44 of the Complaint consists of
    9   conclusions of law, O-I is not required to respond.
   10                                  FIFTH CAUSE OF ACTION
   11                             (Respirator Defendant's Negligence)
   12          45.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   13   has no obligation to answer paragraphs 45 of the Complaint.
   14          46.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   15   has no obligation to answer paragraphs 46 of the Complaint.
   16          47.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   17   has no obligation to answer paragraphs 47 of the Complaint.
   18          48.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   19   has no obligation to answer paragraphs 48 of the Complaint.
   20          49.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   21   has no obligation to answer paragraphs 49 of the Complaint.
   22          50.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   23   has no obligation to answer paragraphs 50 of the Complaint.
   24          51.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   25   has no obligation to answer paragraphs 51 of the Complaint.
   26          52.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   27   has no obligation to answer paragraphs 52 of the Complaint.
   28          53.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
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    1   has no obligation to answer paragraphs 53 of the Complaint.
    2         54.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
    3   has no obligation to answer paragraphs 54 of the Complaint.
    4         55.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
    5   has no obligation to answer paragraphs 55 of the Complaint.
    6         56.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
    7   has no obligation to answer paragraphs 56 of the Complaint.
    8         57.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
    9   has no obligation to answer paragraphs 57 of the Complaint or any of its subparts.
   10         58.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   11   has no obligation to answer paragraphs 58 of the Complaint.
   12         59.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   13   has no obligation to answer paragraphs 59 of the Complaint.
   14         60.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   15   has no obligation to answer paragraphs 60 of the Complaint.
   16         61.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   17   has no obligation to answer paragraphs 61 of the Complaint.
   18         62.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   19   has no obligation to answer paragraphs 62 of the Complaint.
   20         63.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   21   has no obligation to answer paragraphs 63 of the Complaint.
   22         64.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   23   has no obligation to answer paragraphs 64 of the Complaint.
   24         65.     The Fifth Cause of Action is not alleged against O-I. Therefore, O-I
   25   has no obligation to answer paragraphs 65 of the Complaint.
   26                                 SIXTH CAUSE OF ACTION
   27                          (Respirator Defendants' Strict Liability)
   28         66.     The Sixth Cause of Action is not alleged against O-I, Therefore, O-I
                                                       - 23 -
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    1   has no obligation to answer paragraphs 66 of the Complaint.
    2         67.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
    3   has no obligation to answer paragraphs 67 of the Complaint.
    4         68.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
    5   has no obligation to answer paragraphs 68 of the Complaint.
    6         69.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
    7   has no obligation to answer paragraphs 69 of the Complaint.
    8         70.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
    9   has no obligation to answer paragraphs 70 of the Complaint.
   10         71.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   11   has no obligation to answer paragraphs 71 of the Complaint.
   12         72.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   13   has no obligation to answer paragraphs 72 of the Complaint.
   14         73.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   15   has no obligation to answer paragraphs 73 of the Complaint.
   16         74.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   17   has no obligation to answer paragraphs 74 of the Complaint.
   18         75.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   19   has no obligation to answer paragraphs 75 of the Complaint.
   20         76.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   21   has no obligation to answer paragraphs 76 of the Complaint.
   22         77.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   23   has no obligation to answer paragraphs 77 of the Complaint.
   24         78.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   25   has no obligation to answer paragraphs 78 of the Complaint.
   26         79.     The Sixth Cause of Action is not alleged against O-I. Therefore, O-I
   27   has no obligation to answer paragraphs 79 of the Complaint.
   28
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    1                               SEVENTH CAUSE OF ACTION
    2                                       (Loss of Consortium)
    3          80.     Answering paragraph 80 of the Complaint, O-I incorporates herein by
    4   reference, as though fully set forth herein, paragraphs 1 through 44 of this Answer.
    5          81.     To the extent that paragraph 81 of the Complaint consists of
    6   allegations of fact as to Plaintiffs (individually and/or collectively), O-I lacks
    7   sufficient knowledge or information to form a belief as to the truth of the
    8   allegations, and on that basis, O-I denies the allegations. To the extent that
    9   paragraph 81 of the Complaint consists of conclusions of law, O-I is not required to
   10   respond. As to the remaining allegations in paragraph 81 of the Complaint, to the
   11   extent they are asserted against O-I, O-I denies the allegations.
   12          82.     To the extent that paragraph 82 of the Complaint consists of
   13   allegations of fact as to Plaintiffs (individually and/or collectively), O-I lacks
   14   sufficient knowledge or information to form a belief as to the truth of the
   15   allegations, and on that basis, O-I denies the allegations. To the extent that
   16   paragraph 82 of the Complaint consists of conclusions of law, O-I is not required to
   17   respond. As to the remaining allegations in paragraph 82 of the Complaint, to the
   18   extent they are asserted against O-I, O-I denies the allegations,
   19          83.     To the extent that paragraph 83 of the Complaint consists of
   20   allegations of fact as to Plaintiffs (individually and/or collectively), O-I lacks
   21   sufficient knowledge or information to form a belief as to the truth of the
   22   allegations, and on that basis, denies the allegations. To the extent that paragraph
   23   83 of the Complaint consists of conclusions of law, O-I is not required to respond.
   24   As to the remaining allegations in paragraph 83 of the Complaint, to the extent they
   25   are asserted against O-I, O-I denies the allegations.
   26          84.     To the extent that paragraph 84 of the Complaint consists of
   27   allegations of fact as to Plaintiffs (individually and/or collectively), O-I lacks
   28   sufficient knowledge or information to form a belief as to the truth of the
                                                        - 25 -
         Answer to Complaint for Personal Injury – Asbestos: Demand for Jury Trial – 2:18-cv-01575-FMO
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    1   allegations, and on that basis, denies the allegations. To the extent that paragraph
    2   84 of the Complaint consists of allegations of fact as to other defendants (known or
    3   unknown), O-I lacks sufficient knowledge or information to form a belief as to the
    4   truth of the allegations, and on that basis, denies the allegations. To the extent that
    5   paragraph 84 of the Complaint consists of allegations of fact as to O-I, O-I denies
    6   the allegations. In particular, O-I denies that Plaintiff was exposed to asbestos from
    7   any O-I product, equipment, or material, that O-I deceived or intended to deceive
    8   Plaintiff, or that O-I is in any way liable for any damage or injury allegedly
    9   sustained by Plaintiffs. Further, O-I specifically denies that it caused or contributed
   10   to any injury or damage allegedly sustained by Plaintiffs. Moreover, the term
   11   “alternate entities” does not correlate to a legally defined corporate relationship and
   12   Plaintiffs’ use of these terms is vague, confusing, and misleading. To the extent
   13   that paragraph,84 of the Complaint consists of conclusions of law, O-I is not
   14   required to respond. As to the remaining allegations of fact in paragraph 84 of the
   15   Complaint, to the extent they are asserted against, O-I denies the allegations.
   16                           PLAINTIFFS' PRAYER FOR RELIEF
   17          1.      Responding to the allegations of Plaintiffs' prayers, O-I denies that it
   18   caused or contributed to or is in any way liable for any damage or injury allegedly
   19   sustained by Plaintiffs, and specifically denies that there is any basis for any award
   20   of punitive damages, Further responding, O-I lacks information or knowledge
   21   sufficient to respond to each and every allegation in Plaintiffs' prayer for judgment,
   22   and on that basis, denies them. In addition, O-I seeks judgment in its favor and
   23   costs of suit herein.
   24          2.      O-I further denies each and every allegation not specifically admitted
   25   herein.
   26                              FIRST AFFIRMATIVE DEFENSE
   27          Neither the Complaint nor any purported cause of action alleged by the
   28   Plaintiffs therein states facts sufficient to constitute a cause of action against
                                                        - 26 -
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    1   Defendant.
    2                            SECOND AFFIRMATIVE DEFENSE
    3          To the extent the Complaint asserts Defendant's alleged "market share"
    4   liability, or "enterprise liability," the Complaint fails to state facts sufficient to
    5   constitute a cause of action against Defendant.
    6                             THIRD AFFIRMATIVE DEFENSE
    7          Neither the Complaint nor any purported cause of action alleged therein
    8   states facts sufficient to entitle Plaintiffs to an award of punitive damages against
    9   Defendant.
   10                            FOURTH AFFIRMATIVE DEFENSE
   11          The imposition of any punitive damages in this matter would deprive
   12   Defendant of its property without due process of law under the California
   13   Constitution and United States Constitution.
   14                              FIFTH AFFIRMATIVE DEFENSE
   15          The imposition of any punitive damages in this matter would violate the
   16   United States Constitution's prohibition against laws impairing the obligation of
   17   contracts.
   18                             SIXTH AFFIRMATIVE DEFENSE
   19          The imposition of any punitive damages in this matter would constitute a
   20   criminal fine or penalty and should, therefore, be remitted on the ground that the
   21   award violates the United States Constitution.
   22                           SEVENTH AFFIRMATIVE DEFENSE
   23          Plaintiffs' action, and each alleged cause of action, is barred by the applicable
   24   statute of limitations, including but not limited to California Code of Civil
   25   Procedure, Sections 335.1, 338, 339, 340.2, 343, 361, and 474 and California
   26   Commercial Code, Section 2725 and including any applicable statute of limitation
   27   and/or statute of repose of the state of Plaintiffs’ residence if not California.
   28
                                                        - 27 -
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    1                            EIGHTH AFFIRMATIVE DEFENSE
    2          Plaintiffs unreasonably delayed in bringing this action, without good cause
    3   therefor, and thereby have prejudiced Defendant as a direct and proximate result of
    4   such delay; accordingly, this action is barred by laches.
    5                             NINTH AFFIRMATIVE DEFENSE
    6          Plaintiff was negligent in and about the matters alleged in the Complaint and
    7   in each alleged cause of action; this negligence proximately caused, in whole or in
    8   part, the damages alleged in the Complaint. In the event Plaintiffs are entitled to
    9   any damages, the amount of these damages should be reduced by the comparative
   10   fault of Plaintiff and any person whose negligent acts or omissions are imputed to
   11   Plaintiffs.
   12                             TENTH AFFIRMATIVE DEFENSE
   13          Plaintiffs knowingly, voluntarily and unreasonably undertook to encounter
   14   each of the risks and hazards, if any, referred to in the Complaint and each alleged
   15   cause of action, and this undertaking proximately caused and contributed to any
   16   loss, injury or damages incurred by Plaintiffs.
   17                          ELEVENTH AFFIRMATIVE DEFENSE
   18          Any loss, injury or damage incurred by Plaintiffs was proximately caused by
   19   the negligent or willful acts or omissions of parties whom Defendant neither
   20   controlled nor had the right to control, and was not proximately caused by any acts,
   21   omissions or other conduct of Defendant.
   22                           TWELFTH AFFIRMATIVE DEFENSE
   23          The products referred to in the Complaint were misused, abused or altered by
   24   Plaintiffs or by others; the misuse, abuse or alteration was not reasonably
   25   foreseeable to Defendant, and proximately caused any loss, injury or damages
   26   incurred by Plaintiffs.
   27                        THIRTEENTH AFFIRMATIVE DEFENSE
   28          Defendant alleges that its products were manufactured, produced, supplied,
                                                        - 28 -
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    1   sold and distributed in mandatory conformity with specifications promulgated by
    2   the United States Government and/or other foreign government under its war
    3   powers, as set forth in its Constitution, and/or laws of that country, and that any
    4   recovery by Plaintiffs on the Complaint on file herein is barred in consequence of
    5   the exercise of those sovereign powers.
    6                        FOURTEENTH AFFIRMATIVE DEFENSE
    7          Plaintiffs failed to exercise due diligence to mitigate their loss, injury or
    8   damages; accordingly, the amount of damages to which Plaintiffs are entitled, if
    9   any, should be reduced by the amount of damages which would have otherwise
   10   been mitigated.
   11                          FIFTEENTH AFFIRMATIVE DEFENSE
   12          The Court lacks subject matter jurisdiction over the matters alleged in the
   13   Complaint because the Complaint and each alleged cause of action against
   14   Defendant is barred by the provisions of California Labor Code, Section 3601, et
   15   seq. or any Workers’ Compensation provisions of the jurisdictions whose laws are
   16   deemed to apply to this dispute.
   17                         SIXTEENTH AFFIRMATIVE DEFENSE
   18          Defendant alleges that at the time of the injuries alleged in the Complaint,
   19   Plaintiffs was employed and was entitled to receive Workers' Compensation
   20   benefits from his/her employer; that Plaintiffs’ employer, other than Defendant, was
   21   negligent in and about the matters referred to in said Complaint, and that such
   22   negligence on the part of said employer proximately and concurrently contributed
   23   to the happening of the accident and to the loss or damage complained of by
   24   Plaintiffs, if any there were, and that by reason thereof Defendant is entitled to set
   25   off any such benefits to be received by Plaintiffs against any judgment which may
   26   be rendered in favor of Plaintiffs.
   27                       SEVENTEENTH AFFIRMATIVE DEFENSE
   28          Discovery may show that at the time of the injuries alleged in the Complaint,
                                                        - 29 -
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    1   Plaintiff was employed by and entitled to Workers' Compensation benefits from
    2   Defendant; such benefits constitute Plaintiffs' exclusive remedy pursuant to Labor
    3   Code section 3600 et seq. or any Workers’ Compensation provisions of the
    4   jurisdictions whose laws are deemed to apply to this dispute.
    5                        EIGHTEENTH AFFIRMATIVE DEFENSE
    6          Defendant alleges that at the time of the injuries alleged in the Complaint,
    7   Plaintiffs’ employers, other than Defendant, were negligent in and about the matters
    8   referred to in said Complaint, and that such negligence on the part of said
    9   employers proximately and concurrently contributed to any loss or damage,
   10   including non-economic damages, complained of by Plaintiffs, if any there were;
   11   and that Defendant is not liable for said employers' proportionate share of non-
   12   economic damages.
   13                        NINETEENTH AFFIRMATIVE DEFENSE
   14          Defendant alleges that at the time of the injuries alleged in the Complaint,
   15   parties other than this Defendant were negligent in and about the matters referred to
   16   in said Complaint, and that such negligence on the part of said parties proximately
   17   and concurrently contributed to any loss or damage, including non-economic
   18   damages, complained of by Plaintiffs, if any there were; and that Defendant herein
   19   shall not be liable for said parties' proportionate share of non-economic damages.
   20                         TWENTIETH AFFIRMATIVE DEFENSE
   21          Defendant alleges that at all times relevant to matters alleged in the
   22   Complaint, Plaintiffs’ employer, other than Defendant, was a sophisticated user of
   23   asbestos-containing products, Defendant knew Plaintiffs’ employer was aware or
   24   should have been aware of the specific danger of the products at issue (if any), and
   25   Defendant reasonably relied on the Plaintiffs’ employer to warn Plaintiff about the
   26   products, and that employer's negligence in providing the product to its employees
   27   in a negligent, careless and reckless manner is a superseding cause of Plaintiffs’
   28   injuries.
                                                        - 30 -
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    1                       TWENTY-FIRST AFFIRMATIVE DEFENSE
    2          If Plaintiffs received Workers' Compensation benefits from Defendant under
    3   the Labor Code of the State of California or any other applicable Workers’
    4   Compensation provision as a consequence of the alleged industrial injury referred
    5   to in the Complaint, and in the event that Defendant is held liable to Plaintiffs, any
    6   award against Defendant must be reduced in the amount of all such benefits
    7   received by Plaintiffs.
    8                     TWENTY-SECOND AFFIRMATIVE DEFENSE
    9          If Plaintiffs received Workers' Compensation benefits from Defendant under
   10   the Labor Code of the State of California or any other applicable Workers'
   11   Compensation provision as a consequence of the alleged industrial injury referred
   12   to in the Complaint, and in the event Plaintiffs are awarded damages against
   13   Defendant, Defendant claims a credit against this award to the extent that
   14   Defendant is barred from enforcing its rights to reimbursement for Workers'
   15   Compensation benefits that Plaintiffs have received or may in the future receive.
   16                      TWENTY-THIRD AFFIRMATIVE DEFENSE
   17          If Plaintiffs received Workers' Compensation benefits from Defendant under
   18   the Labor Code of the State of California or any other applicable Workers'
   19   Compensation provision as a consequence of the alleged industrial injury referred
   20   to in the Complaint, Defendant demands repayment of any such Workers'
   21   Compensation benefits in the event that Plaintiffs recover tort damages as a result
   22   of the industrial injury allegedly involved here.
   23                     TWENTY-FOURTH AFFIRMATIVE DEFENSE
   24          Although Defendant denies the validity of Plaintiffs' claims, in the event
   25   those claims are held valid and not barred by the statute of limitations or otherwise,
   26   Defendant asserts that cross-demands for money have existed between Plaintiffs
   27   and Defendant and the demands are compensated, so far as they equal each other,
   28   pursuant to California Code of Civil Procedure Section 431.70.
                                                        - 31 -
         Answer to Complaint for Personal Injury – Asbestos: Demand for Jury Trial – 2:18-cv-01575-FMO
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    1                      TWENTY-FIFTH AFFIRMATIVE DEFENSE
    2          At all times and places in the Complaint, neither Plaintiffs were in privity of
    3   contract with Defendant and said lack of privity bars Plaintiffs' recovery herein
    4   upon any theory of warranty.
    5                      TWENTY-SIXTH AFFIRMATIVE DEFENSE
    6          Plaintiffs are barred from recovery in that all products produced by
    7   Defendant were in conformity with the existing state-of-the-art, and as a result,
    8   these products were not defective in any manner.
    9                    TWENTY-SEVENTH AFFIRMATIVE DEFENSE
   10          Defendant did not and does not have a substantial percentage of the market
   11   for the asbestos-containing products which allegedly caused Plaintiffs’ injuries.
   12   Therefore, Defendant may not be held liable to Plaintiffs based on Defendant's
   13   alleged percentage share of the applicable market.
   14                     TWENTY-EIGHTH AFFIRMATIVE DEFENSE
   15          Defendant denies any and all liability to the extent that Plaintiffs assert
   16   Defendant's alleged liability as a successor, successor in business, successor in
   17   product line or a portion thereof, assign, predecessor, predecessor in business,
   18   predecessor in product line or a portion thereof, parent, alter ego, equitable trustee,
   19   subsidiary, wholly or partially owned by, or the whole or partial owner of or
   20   member in an entity researching, studying, manufacturing, fabricating, designing,
   21   labeling, assembling, distributing, leasing, buying, offering for sale, selling,
   22   inspecting, servicing, installing, contracting for installation, repairing, marketing,
   23   warranting, rebranding, manufacturing for others, packaging and advertising a
   24   certain substance, the generic name of which is asbestos or a product which
   25   contains asbestos.
   26                      TWENTY-NINTH AFFIRMATIVE DEFENSE
   27          Defendant had no knowledge that any of the alleged activities of which
   28   Plaintiffs complain, and which allegedly were conducted on premises where this
                                                        - 32 -
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    1   Defendant performed work, were unsafe or dangerous, and Defendant therefore did
    2   not have a duty to warn Plaintiffs regarding any such alleged dangers.
    3                          THIRTIETH AFFIRMATIVE DEFENSE
    4            Defendant alleges that it was under no legal duty to warn Plaintiffs of the
    5   hazards associated with the use of products containing asbestos, or, to the extent
    6   that Defendant owed such a duty, it discharged that duty because the purchasers of
    7   said products, Plaintiffs’ employer/s, their union/s or certain third parties yet to be
    8   identified, were sufficiently sophisticated buyers and were in a better position to
    9   warn Plaintiffs of the risks associated with using products containing asbestos and,
   10   assuming a warning was required, Defendant knew the buyers were aware of or
   11   should have been aware of the specific danger (if any), and reasonably relied on the
   12   buyers to warn end users about the harm (if any), such that it was the failure of such
   13   persons or entities to give such a warning that was the proximate and superseding
   14   cause of Plaintiffs’ damages, if any.
   15                       THIRTY-FIRST AFFIRMATIVE DEFENSE
   16            Defendant alleges that no conduct by or attributable to it was the cause in fact
   17   or the proximate cause of the damages, if any, suffered by Plaintiffs, nor a
   18   substantial factor in bringing about said damages.
   19                      THIRTY-SECOND AFFIRMATIVE DEFENSE
   20            Defendant alleges that its liability, if any, in this matter is extremely minor
   21   relative to the liability of various third parties and, therefore, the damages, if any,
   22   assessed against it should be proportionate to the degree, nature and extent of its
   23   fault.
   24                       THIRTY-THIRD AFFIRMATIVE DEFENSE
   25            Plaintiffs herein have failed to join indispensable parties and the Complaint is
   26   thereby defective, and Plaintiffs are thereby precluded from any recovery
   27

   28
                                                        - 33 -
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    1   whatsoever as prayed for herein.
    2                     THIRTY-FOURTH AFFIRMATIVE DEFENSE
    3          Defendant alleges that if Plaintiff’s claims were already litigated and
    4   resolved in any prior action, or if Plaintiff has filed a separate action seeking
    5   damages for the same asbestos-related disease(s), Plaintiff’s claims herein are
    6   barred based on the primary right and res judicata doctrines which prohibit splitting
    7   a single cause of action into successive suits, and/or seeking new recovery for
    8   injuries for which the Plaintiff was previously compensated by alleged joint
    9   tortfeasors.
   10                       THIRTY-FIFTH AFFIRMATIVE DEFENSE
   11          Pursuant to California Code of Civil Procedure sections 378 and 430.10(d), if
   12   it is determined that multiple Plaintiffs have been listed on this Complaint, then this
   13   defendant contends the Plaintiffs are misjoined. Because joinder is defective and
   14   improper, and defendants will be prejudiced by having to proceed against different
   15   Plaintiffs with dissimilar cases, a single trial is unfair and a hardship, and separate
   16   trials on each individual cause of action should be ordered.
   17                       THIRTY-SIXTH AFFIRMATIVE DEFENSE
   18          The matters alleged in this Complaint are encompassed within and barred by
   19   a settlement and release agreement reached by the parties which operates as a
   20   merger and bar against any further litigation on matters raised or potentially raised
   21   in connection with the settlement and release.
   22                     THIRTY-SEVENTH AFFIRMATIVE DEFENSE
   23          To the extent that Plaintiffs have previously filed a dismissal in court
   24   dismissing all of their asserted claims, causes of action, and other theories of
   25   liability against this defendant with prejudice, the matters alleged in this Complaint
   26   are barred by retraxit.
   27                      THIRTY-EIGHTH AFFIRMATIVE DEFENSE
   28          To the extent that Plaintiffs have reached an accord with defendant regarding
                                                        - 34 -
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    1   this litigation and this accord was then properly satisfied, the claims, causes of
    2   action, theories of liability and matters alleged in this Complaint are barred by the
    3   doctrine of accord and satisfaction.
    4                       THIRTY-NINTH AFFIRMATIVE DEFENSE
    5          Plaintiffs are barred from recovery in this case under the Sophisticated User
    6   doctrine as to any cause of action based in whole or in part upon a failure to warn,
    7   in that the allegedly injured Plaintiff was a member of a trade, union, profession
    8   and/or a smaller group within such trade, union or profession which generally knew
    9   of the dangers of exposure to asbestos at the time of the facts alleged against
   10   Defendant. Johnson v. American Standard, 43 Cal. 4th 56 (2008).
   11                          FORTIETH AFFIRMATIVE DEFENSE
   12          Plaintiffs’ action should be dismissed under California Code of Civil
   13   Procedure, Section 410.30, because in the interest of substantial justice this action
   14   should be heard in a forum outside this state.
   15                        FORTY-FIRST AFFIRMATIVE DEFENSE
   16          To the extent that Plaintiffs alleged exposure to Defendant’s products
   17   occurred within the territory of a state, nation, or other jurisdiction other than
   18   California, or to the extent that other grounds exist for the application of the law of
   19   a jurisdiction other than California to Plaintiffs’ claims against Defendant,
   20   Defendant reserves the right to argue that Plaintiffs’ claims against Defendant
   21   should be governed by the laws of such other jurisdiction, including but not limited
   22   to statutes(s) of limitations, statute(s) of repose, causation standards, exposure
   23   standards, product identification standards, and limitations on the types and/or
   24   amount of recoverable damages.
   25          O-I reserves the right to amend its Answer and allege additional or different
   26   affirmative defenses if investigation, discovery and further information should
   27   warrant such amendment, and, further, to assert any applicable matters of law
   28   during the pendency of this action.
                                                        - 35 -
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    1         WHEREFORE, Defendant prays:
    2         (1)     That Plaintiffs take nothing by their Complaint;
    3         (2)     That Judgment be entered in favor of Defendant;
    4         (3)     For recovery of Defendant's costs of suit;
    5         (4)     For appropriate credits and set-offs arising out of any payment of
    6   Workers' Compensation benefits as alleged above; and
    7         (5)     For such other and further relief as the Court deems just and proper.
    8

    9
        Dated: March 5, 2018                      RILEY SAFER HOLMES & CANCILA LLP
   10

   11
                                                  By: /s/ Meghan R. McMeel
   12                                               Meghan R. McMeel
                                                    Attorneys for Defendant
   13                                               OWENS-ILLINOIS, INC.
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    1
                                   DEMAND FOR JURY TRIAL
    2
                Defendant OWENS-ILLINOIS, INC. hereby demands a trial by jury on all
    3
        issues in this action and estimates that the length of trial will be six to eight weeks
    4
        in duration.
    5

    6                                                  RILEY SAFER HOLMES &
         Dated: March 5, 2018                          CANCILA LLP
    7

    8
                                                       By: /s/ Meghan R. McMeel
    9                                                    Meghan R. McMeel
                                                         Attorneys for Defendant
   10                                                    OWENS-ILLINOIS, INC.
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         2:16-cv-03764-SJO-GJS                      -1-
                                            DEMAND FOR JURY TRIAL
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    1
                                  CERTIFICATE OF SERVICE
    2
              I, Meghan R. McMeel, hereby certify that this document filed through the
    3
        ECF system will be sent electronically to the registered participants as identified on
    4
        the Notice of Electronic Filing (NEF) and paper copies will be sent to those
    5
        indicated as non-registered participants on March 5, 2018.
    6

    7   Dated: March 5, 2018                   RILEY SAFER HOLMES & CANCILA LLP
    8

    9                                          By: /s/ Meghan R. McMeel
                                                 Meghan R. McMeel
   10                                            Attorneys for Defendant
                                                 OWENS-ILLINOIS, INC.
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        Certificate of Service – 2:18-cv-01575-FMO-E
